                                       Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 1 of 49
    JS44 (Rcv.06/I7)                                                               CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein n.eithcr replace nor supplement the f¥.Iin§ and service of pleadings or other papers as recluired be law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the noted States in eptember 1974, is required for the use of the C erk of our! for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS UNNEX/'/'AON' OF YE/S FORM)

    I. (2) PLAINTIFFS                                                                                                 DEFENDANTS
           Christine Pcmblelon                                                                                       Macy's Inc. and Macy's Retail Holdings, Inc. I/t/a Macy's Retail
                                                                                                                  Holdings, LLC
    (b)         County of Residcncc of First Listed Plaintiff Philadelphia County, PA                                 County of Rcsidcncc of First Listed Defendant    New York County. NY
                                  (Ex(:'p1'1n us. I'l,AlNTIFFCASE$                                                                           (IN US. ['l,AINTlFF CASES ONLY)
                                                                                                                      NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATLON OF
    (0)    Attorneys (Firm Name, Address, and Yklup/:une Number)                                                               THF. TRAC!" OF LAND INVOLVED.
      Robert A. Huber, Esq.                                                                                            Attorneys (lfKllouv0
       Thomas E. Copain, Esq.                                                                                          Robert W. Stanko, Esquire
        Huber & Paisir, LLC                                                                                            Andrew C. Goldstein, Esquire
        461 N. 3rd Street, 2nd Floor                                                                                   Marshall Dennehey Warner Coleman & Goggin
        Philadelphia, PA 19123                                                                                         2000 Market Street, Suite 2300, Philadelphia, PA 19103

    II. BASIS OF JURISDICTION (Place all ",\"' In O/rc Box Only)                                          IH. CITIZENSHIP OF PRINCIPAL PARTIES (Place all "X" in One Box for P/ainllf f
                                                                                                                  (Mrr Divazzrily Caxex On/yy                                       and O/le Havfor Dejémlanl)
    0 l      U.S, Govcnuncnl                    3 Federal Question                                                                          PTF          DEF                                       PDF      DEI "
                Plaillliff                          (US. GovelmrlunfNoI a Part                               Citizen of This State           x             1 Incnrporaled or Principal Place          4        4
                                                                                                                                                                 ofBusincss In This Slale

    n 2 u.s. Govenmleni                       X 4   Diversity                                                Citizen oflAno\her State           2          2 Inco11Joraled Fwd Principal Place        5           X
           Deflendm1I                                (hlriicale Clflzemh/p nfPm'lies in Item III)                                                                 of Bllsiness In Another Slate

                                                                                                             Citizen or Subject ofa             3           3   Foreign Nation                         6          6
                                                                                                               Foreign Country
    IV. NATURE OF SUIT (Place UU "x" in One Box On/W                                                                                                      Click here for: Nature of Suit Code Descriptions.
                 CQNTRACT.                                               DTORTS                                .FORFEITURE/PENALTY                         BANKRUPTCY                     OTHER STATUTES
    0  110 Insurance                           PERSONAL INJURY                  PERSONAL INJURY              n 625 Drug Related Seizure                 422 Appeal 28 USC 158        U 375 False Claims ACT
    0  120 Marine                              310 Airplane                  X 365 Personal Injury -                ofPropcrty 21 USC 88 l              423 Wilhdrawa!                  376 Qui Tsm (31 USC
    0  130 Miller Ac!                          315 Airplane Product                 Produc! Liability        al 690 Other                                   28 USC 157                       3729(a))
    n  140 Negotiable Inslrmneul                    Liability                 D 367 Health Care/                                                                                    D 400 Stale RcappoNiunlncnt
    n  150 Recovery cllOverpayment             320 Assault, Libel &                Pllarlnaceutical                                                    PROP ERTY RIGHTS             D   410 Antitrust
           & Enforcement of.ludgmcnl                Slander                        Personal Injury                                                  D 820 Copyrights                n 430 Banks and Banking
     0 151 Medicare Aol                        330 Federal Ernployers'             Pmdllcl Liability                                                n 830 Patent                    EI 450 Commerce
     0 152 Recovery of Defaulted                    Liability                 D   368 Asbestos Personal                                             n 835 Patent - Abbreviated      n 460 Depor1n£ion
           Snidein Loans                       340 Marine                             In Mary Product                                                      New Drug Applicltion     u 470 Racketeer Influenced and
           (Excludes Veterans)                 345 Marine Product                   Liability                                                       u 840 Trademark                        Comipl Organizations
    D 153 Recovery of Overpayment!                  Liability                  PERSONAL PROPERTY                    LABOR                              SOCIAL SECURITY              0 480 Consumer Credit
                                                                                                                                                    r
              of Vclerarfs Beneiirs            350 Motor Vehicle             EJ 370 Other Fraud        F1 710 Fair Labor Standards                    861 HIA (1395m                B 490 Cable/Sai TV
    D 560 Stockholders' Suits                  355 Motor Vehicle             n 37] Truth in Lending            Act                                  0 862 Black Lung (923)          n 850 Securities/Colnmodities/
                                                                                                                                                    »
    D 190 Other Comracl                            Product Liability         o 380 Other Personal      u 720 Labor/Management                         863 Dlwc/Dlww (405(g))                Exchange
    0 195 Corr ac! Product Liability           360 Other Persoinl                  Property Damage             Relations                            B 864 SSID Title XVI            n 890 Other Sintulory Actions
    El 196 Franchise                               Injury                    D  385 Property Damage    0 740 Railway Labor Act
                                                                                                                                                    I 865 RSI (405(g))              0 891 Agricultural Acts
                                               362 Personal Injury -               Product Liability      751 Family and Medical                                                    J 893 Environmeninf Matters
                                                   Medical Malpractice                                         Leave Act                                                            U 895 Fro¢dom oflnformaiion
           1REALPROPERTY z                      CIVIL RIGHTS                  PRISONER PE'lll'FlONS ,L n 790 Other Labor Litigation      FEDERAIJTAX SUITS                                  Act
    a 2 I0 Land Condemnation              0    440 Oiher Civil Rid,lzts         Havens Corpus:         n 791 Employee Retirement       0 870 Taxes (`U.S. Plainti1¥                 D 896 Arbitration
    D 220 Foreclosure                     0    441 Voting                    0 463 Alien Delaines             Income Security Act             or Defendant)                         n 899 Administrative Procedure
    D 230 Rent Lease & Ejeclmen!          n    442 Employment                D 510 Motions lo Vacate                                   D 87] IRS-Third Party                               Act/Review or Appeal of
    n 240 'Forts lo Land                  D    443 Housing/                         Sentence                                                  26 USC 7609                                   Agency Decision
    l'l 245 Ton Product Liability                  Accomlnodations           n 530 General                                                                                          al 950 Consiitutiomlity of
    rl 290 All Other Real Property        D    445 Amer. w/Disabiliiies      D $35 Death Penalty               IMMIG RAT IO N.                                                              State Statutes
                                                  Employment                    Other:                 0 462 Nahwwlizalion Application
                                          D    446 Amer. w/Disabilhies       0 540 Mandamus & Other    n 465 Other Iuunigralion
                                                  Other                      0 550 Civil Rights                Actions
                                          n    448 Edllcatiun                n 555 Prison Condition
                                                                             n 560 Civil Detainee -
                                                                                    Conditions of
                                                                                    ColiH!\emei1t

     V. ORIGIN (Place an ",\"' in One Box 07109
                                                                                                                                 t
     ' I  Original       X2 Removed from                           0     3   Remanded from             0 4 Reinstated or              S Transferred from          0 6 MllllidislT icl         0 8 Multidistrict
              Proceeding              State Court                            Appeilatc Court               lieopened                    Another District               Litigation -               Litigation -

                                                                                                                                                                         Transfer                  Direct File
                                                 Cite the U.S. Civil Statute under which you are filing (Do not cirejurisrlIcriollalslat:/les unless lliversig)1
                                                                                                                                                                          28 u.s.c. § 1441(a)
     VI. CAUSE OF ACTION                        Brief description of cause:            Plaintiff alleges various injuries as a result n f an alleged accident involving an escalate '1 r.

     VII. REQUESTED IN                                CHECK IF THIS IS A CLASS ACTION                           D E MA N D $                                    CHECK YES only if demanded in complaint:
           COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                                                                  JURY D18MAND=             n Yes       x 'No

I     RELATED CASE(S)
                                                    (See f!r.sH"ucf10r15).
           IF ANY                                                             JUDGE                                                                     _DOCKET N U MB E R

     DATE                                                                         §1£1nAJ1m OF ATTOWNEY 01: RECORD
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     FOR OFFICE U§1: ONLY                                                                  1


           RECEIPT al                  AMOUNT                                         APPLYING IFP                                    JUDGE                              MAG. JUDGE
             Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 2 of 49
                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM

CHRISTINE PEMBLETON                                                CIVIL ACTION
              v.

MACY'S INC., et al,
                                                                      NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this could, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set faith on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which
that defendant believes the case should be assigned.


SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a)   Habeas Corpus-Cases brought under 28 U.S.C. §2241through §2255.                              ( )

(b) Social Security-Cases requesting review of a decision of the Secretary of Health
      and Human Services denying plaintiff Social Security Benefits.                               ( )

(C)    Arbitration-Cases require to be designated for arbitration under Local Civil Rule 53.2.     (X)

(d)    Asbestos-Cases involving claims for personal injury OI' p1'ope1"Ly damage from
       exposure to asbestos.                                                                       ( )

(e)    Special Management~Cases that do not fall into tracks (a) through (d) that are
       commonly 1'efeu'ed to as complex and that need special or intense management by
       the court. (See reverse side of this form for a detailed explanation of special
       management cases.)                                                                          ( )

(f)    Standard Management--Cases that do not fall into any one of the other tracks.               ( )


 October 9, 2020                                                              Defendants
 Date                                     'Attofljey-at-law                   Attorney for


 215-575-2807                              215-575-0856                 rwstanko@mdwcg,com
 Telephone                                 FAX Number                       E-Mail Address




(Civ. 660) 10/02
             Case 2:20-cv-05024-CMR
                        IN THE UNITEDDocument
                                      STATES 1DISTRICT
                                                Filed 10/09/20
                                                         COURTPage 3 of 49
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM

CHRISTINE PEMBLETON                                                CIVIL ACTION
              v.

MACY'S INC., et al.
                                                                      NO.

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      and Human Services denying plaintiff Social Security Benefits.                               ( )

(c)    Arbitration-Cases require to be designated for arbitration under Local Civil Rule 53.2.     (X)

(d)    Asbestos-Cases involving claims for personal injury or property damage from
       exposure to asbestos.                                                                       ()
(G)    Special Management~Cases that do not fall into tracks (a) through (d) that are
       commonly referred to as complex and that need special or intense management by
       due court. (See reverse side of this form for a detailed explanation of special
       management cases.)

(1)     Standard Management--Cases that do not fall into any one of the other tracks .


 October 9, 2020                        . 1, -I         .                     Defendants
 Date                                     lAtte ey-at-law                     Attorney for


 215-575-2807                              215-575-0856                 rwstanko@mdwcg.com
 Telephone                                 FAX Number                       E-Mai] Address




(Civ. 660) 10/02
                            Case 2:20-cv-05024-CMR
                                               UNITED Document   1 Filed
                                                      STATES DISTRICT    10/09/20 Page 4 of 49
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                              êðêð ß´³¿ Í¬®»»¬ô Ð¸·´¿¼»´°¸·¿ô Ðß ïçïìç
Address of Plaintiff: ______________________________________________________________________________________________
                                            îð É¸·°°¿²§ Î±¿¼ô Ó±®®·­¬±©²ô Ò»© Ö»®­»§
Address of Defendant: ____________________________________________________________________________________________
                                                         îíðð Ô·²½±´² Ø·¹¸©¿§ô Ô¿²¹¸±®²»ô Ðß ïçðìé
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                   Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                       Yes                    No   ì
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                      Yes                    No   ì
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                              Yes                    No    ì
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                      Yes                    No    ì
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ´   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      ïðñðçñîðîð
DATE: __________________________________                     __________________________________________                                   îðèèíð
                                                                                                                             ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                      B.   Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
       2.     FELA                                                                              2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
       4.     Antitrust                                                                         4.    Marine Personal Injury
       5.     Patent                                                                            5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                 ì    7.    Products Liability
       8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
       10.    Social Security Review Cases                                                            (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                          ARBITRATION CERTIFICATION
                                                  (

I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


DATE: __________________________________                     __________________________________________                      ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                             Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
         Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 5 of 49




                      TN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 CHRISTINE PEMBLETON                               CIVIL ACTION

        v.
                                                   NO.
MACY'S INC. and MACY'S RETAIL
HOLDINGS, INC. 1/t/a MACY'S RETAIL
HOLDINGS, LLC and SCHINDLER
ELEVATOR COMPANY and
JOHN DOE #1 a/k/a Scott,                            JURY TRIAL DEMANDED
JOHN DOE #2 and 3


                                  NOTICE OF REMOVAL

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT
COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA:

       Defendants, Schindler Elevator Corporation (incorrectly identified as Schindler Elevator

Company and hereinafter referred to as "SEC"), Macy's Inc. and Macy's Retail Holdings, Inc.

1/t/a Macy's Retail Holdings, LLC (collectively "the Macy's Defendants"), by and through their

attorneys, Marshall Dennehey Wamer Coleman & Goggin, pursuant to 28 U.S.C. §§ 1332, 1441,

and 1446, file the instant Notice of Removal of a certain action pending in the Philadelphia Court

of Common Pleas, and in support thereof state as follows:

       1.      SEC and the Macy's Defendants are named as defendants in an action captioned

Christine Pembleton v. Macy's Inc. et al., Case ID 200802802, which is pending in the

Philadelphia Could of Common Pleas (hereinafter, the "State Coult"). A true and correct copy of

Plaintiffs Civil Action Complaint is attached hereto as Exhibit "A."

       2.      SEC was sewed with the Complaint in the State Court action on or about September

10, 2020. A true and correct copy of Plaintiffs Affidavit of Service on SEC is attached hereto as

Exhibit MB"
           Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 6 of 49




          3,     The Macy's Defendants were served with the Complaint in the State Court action

on or about September 8 and 14, 2020, respectively. True and correct copies of Plaintiffs

Affidavit of Service on the Macy's Defendants are attached hereto collectively as Exhibit "C.:>

          4.     In accordance with 28 U.S.C. §l446(a), the foregoing Complaint is, upon

information and belief, the only process, pleading, or order in the State Court action served upon

SEC or the Macy's Defendants. Docket entries from the State Cou11 action are attached hereto as

Exhibit "D »$9

          5.     Defendants desire to remove this action to this Court and submit this Notice along

with the exhibits, in accordance with 28 U.S.C. §§1332, 1441 and 1446.

          6,     In accordance with 28 U.S.C. §l446(b), this Notice of Removal is timely as it is

filed within shiny (30) days of service.

          7.     The State Could action satisfies the diversity jurisdiction requirements of 28 U.S.C.

§1332(a) because it is between citizens of different states and the amount in controversy exceeds

the sum or value of $75,000.00, exclusive of interest and costs.

          8,     Plaintiff Christine Pembleton is, upon information and belief as set forth in the

Complaint, an adult individual who resides at 6060 Alma Street, Philadelphia, PA 19149.

          9.     SEC is a colporation organized and existing under the laws of the state of

Delaware with its principal place of business located at 20 Whippany Road, Morristown, New

Jersey.

          10.    Macy's Inc. is a co1"po1°ati0n organized and existing under the laws of the state of

Delaware with its principal place of business located in New York, New York.

          11.    Macy's Retail Holdings, LLC is a corporation organized and existing under the

laws of the state of Ohio with its principal place of business located in New York, New York.




                                                   2
           Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 7 of 49




          12.          Plaintiff expressly rejected a proposed stipulation that her alleged damages at issue

were $75,000.00 or less. Therefore, the amount in controversy exceeds $75,000.00.

          13.          This action is one which this Honorable Court has original jurisdiction under the

provisions of 28 U.S.C. § l441(a), in that it is a civil action wherein Plaintiff has alleged that the

damages in controversy exceed the sum or value of $75,000.00, exclusive of interest and costs

and is between citizens of different states.

          14.          The Removing Defendants removed the State Could Action to this Court because

the State Court Action was previously pending in the Court of Common Pleas of Philadelphia

County, Pennsylvania.

          15.          Written notice of the filing of this Notice of Removal will be provided to Plaintiff,

and a copy of this Notice of Removal and supporting papers will be filed with the Clerk of the

State Court, as provided by 28 U.S.C. § 1446(d).

    WHEREFORE, Defendants Schindler Elevator Corporation, Macy's Inc. and Macy's Retail

Holdings, Inc. 1/t/a Macy's Retail Holdings, LLC, pray that the above-described action pending

against them in State Court be removed to this Court.

                                              Respectfully submitted,

                                              MARSHALL DENNEHEY WARNER
                                              COLEMAN & GOGGIN


                                              BY:
                                                      Rbber      Stanko, Esquire
                                                      Andrew C. Goldstein, Esquire
                                                      Attorneys for Defendants,
                                                      Schindler Elevator Corporation, Macy's Inc.
                                                      and Macy's Retail Holdings, Inc. l/t/a
                                                      Macy's Retail Holdings, LLC
Dated :    £13       44 §2»
                 e




                                                         3
            Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 8 of 49



                                  CERTIFICATE OF SERVICE

          I do hereby certify that a true and con°ect copy of the foregoing Notice of Removal was

sent by First Class mail, postage prepaid, to the following counsel of record:

                                Thomas E. Copain, Esquire
                                RobeN A. Huber Esquire
                                Huber & Palsir, LLC
                                461 N. 3rd Street, 2nd Floor
                                Philadelphia, PA 19123


                                       MARSHALL DENNEHEY WARNER
                                       COLEMAN & GOGGIN


                                       BY:         ??"1...   ;
                                               Robert VY. Stanko, Esquire
                                               Andrew C. Goldstein, Esquire
                                               Attorneys for Defendants,
                                               Schindler Elevator Corporation, Macy's Inc.
                                               and Macy's Retail Holdings, Inc. l/t/a
                                               Macy's Retail Holdings, LLC
Dated :      Ur       59   I;
                  I        f
            Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 9 of 49



                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CHRISTINE PEMBLETON                                      CIVIL ACTION

           v.
                                                         NO.
MACY'S INC. and MACY'S RETAIL
HOLDINGS, INC. 1/t/a MACY'S RETAIL
HOLDINGS, LLC and SCHINDLER
ELEVATOR COMPANY and
 JOHN DOE #1 a/k/a Scott,                                JURY TRIAL DEMANDED
 JOHN DOE #2 and 3


                                                 AFF I D AVI T

         ROBERT W. STANKO, ESQUIRE, being duly sworn according to law deposes and

states that the facts set folth in the foregoing Notice of Removal are true and correct to the best

of his knowledge, information, and belief.




                                                    ROBERTQW. STANKO, ESQUIRE



SWORN TO AND SUBSCRIBED
BEFORE ME THIS 9779 . DAY
OF 0 6 ,4 0 4         , 2020




    LQQMM0NWEALTH OF PEN§SYl_3__A1~.l.Lk
             NOTARIAL SEAL
     Mary Frances Woodruff, Notary Public
     City of Fhiladelphia, Philadelphia County
     No;§wnmission expires Seplunbcr 19,2021
Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 10 of 49




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                     Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 11 of 49
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                                         FIRST JUDICIAL DISTRICT OF PENNSYL M I                                         kg'    $        \
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           CHRISTINE PEMBLETON              :
           6060 Alma Street                 :
           Philadelphia, PA 19149           :
                  vs.                       :                               AUGUST TERM 2020
           MACY'S INC. and                  :
           MACY'S RETAIL HOLDINGS, INC.     :
           i/tla MACY'S RETAIL HOLDINGS, LLC:                               no.
            and SCHINDLER ELEVATOR CORP. :
           and JOHN DOE #1 a/k/a Scott,     :
           JOHN DOE #2 and 3                :
           2300 Lincoln Highway, Suite 4    '
           Langhorne. PA 19047                                      :

                                                             NOTICE TO DEFEND



                                NOTICE                                                                 AVISO

    You have been sued in court. It' you wish to defend against the           Le hah dcmandudn a used an lu coNe. Sl used quick
    claims set forth in the thlluwing pages, you must take action within      dclbndcrsc de estrus dcmandas cxpuestns en las pnglnns
    twenty (20) days :after this complaint and notice are served, by          siguicntcs, used tiene veintc (20) dens de plaza al partir do
    entering n written appearance personally or by attorney and Ming          la fecha de lx; dcrnauda y lu nulitlcuclon. [ lac e Inly
    In writing with the court your defenses or objections to the cluhnx       uscentnr Una go;-lpgrgngll] carita 0 en person 0 c o n u n
    set furlh against you. You are warned that II' you fail to du so the      ahngodo y enlregur R lu carte en forma cscrltu Sus
    case may proceed without you and u judgment may he entered                dcfcusns 0 Sus objeciones a is dcmandus en contra de so
    against you by the court without further notice for :my money             personal. Sea avlsndo que at used no so deiiunde, lu core
    claimed In ihc complain( nl' fur any other clan or relief requested       tomnra medldus y puede centinuar la demnndn en eunlru
    by the plaintiff. You may lose money or property or other rights          soya sin preview avian o notltlcncton. Adennns, lu curt
    important to you.                                                         suede decider a favor del demandnnte y requiere que
                                                                              used cumplu con todas les provlslones de esta denmnda.
                                                                              Usted puede perder dtnero o Sus propicdades n otros
                                                                              derechos importnntes para used.

    You should take this paper to yfmr lmvyer nr once. lfyou do not lmw       Lleve Esta denmuda u un ubogndo Mnledharanacnte. Si no
    a lawyer or camwl afford unc, in to or Mcpholze the ¢Y'j?ce set fvrlh     tiene abngado o of no Ilene el dinero sujlcienfe de pugur la!
    below rojlnd our sphere you can get legal help.                           service. Vaya en persons 0 /lame por relefono D la o_/Yclnn
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                                                                                              Asocfucion De Liccnclados
                        Philadelphia Bur Assoclnlion                                                 De Flludclila
                              Lawyer Referral                                                 Servicio Do Refercncia E
                          and Information Service                                                 lnfsxrmacion Legal
                            One Reading Center                                                   One Reading Center
                   Philadelphia, Pennsylvania 19107                                        Filaxdclllu, Pennsylvania 19107
                               (215) 238-6333                                                       (215) 238-6333
                             TTY (215) 4S\-6197                                                  TTY (215) 451-6197

                                I                                                                                                  Case ID: 200802802
      1'0-284
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IIUBER & PALSIR, LLC                                MAJOR TRIAL
BY: ROBERT A. I-IUBER, ESQUIRE
    THOMAS E. COPAIN, ESQUIRE                       A'I"IIORNEYS FOR PLAINTIFF
IDENTIIFICATION NO.s: 58948/322039
461 N. 3rd Street, 2nd floor
PHILADELPHIA, PA 19123
(215) 627-0676
rhubcrGI12myhpIaw.com - email
                                                    COURT OF COMMON PLEAS
crlulsTIi~11ilr7i2;w18LETon                         PHILADELPHIA COUNTY
6060 Alma Street
Philadelphia, PA 19149
       vs.                                          AUGUST         TERM 2020
MACY'S RETAIL HOLDINGS, INC.     6
i/t/a MACY's RETAIL HOLDINGS, LLC:
2300 Lincoln Highway, Suite 4    :                  NO.:
Langhorne, PA 19047              :
       and                                   :
l\'IACY'S, INC.                              :
ISI West 34th Street                         .
                                             I
New York, NY 10001                           o
                                             l
       and                                   :
SCHINDLER ELEVATOR CORP.                     :
20 Whippany Road                             :
Morristown, NJ 07960                         :
       and                                   :
JOHN DOE #1 u/k/a Scott,                     ••

JOHN DOE #2 and 3                             •9
JANE DOEs I, 2 and 3
2300 Lincoln Highway, Suite 4
Langhor.gg,_P_A 19047

                   Q/ v144 CTION .. CODE no.2s - p800 UCT LIA Blur!

    l. Plaintiff, Christine Pemblcton, is an adult individual who resides at the above captioned

address .

    2. Defendant, Macy's Inc. and Macy's Macy's Retail Holdings, Inc. i/Un Macy's Retail

Holdings, LLC (hcrcinaltcr collectively refclrcd to as the "Macy's" defendants) are

corporation(s) and/or business entity(ies) which regularly do business in the Commonwealth of

I'ennsylvanin and in the City and County oflPhiladelphia. In addition, the Macy's Defendants do



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business at the Oxford Valley Mall, 2300 Lincoln Highway in Langhorne, FA. At all times

material hereto Macy's was in possession, custody and control of said premises, including its

escalators.

   3. Defendant, Schindler Elevator Corporation, is a foreign corporation duly authorized 10

conduct business in the Commonwealth of Pennsylvania and which regularly conducts business

in the City and County of' I'hiladelphia. Upon information and belief, at all times material

hereto, this defendant installed, maintained" serviced, manufactured, designed and/or repaired

the escalator in question located at the Macy's store located at the Oxford Valley Mall, 2300

Lincoln Highway, in Langhorne, PA. pursuant to a contract with Macy's.

    4. Defendant John Doe 1 a/k/a Scott , is an adult individual who, upon information and

belief resides in Pennsylvania and who at all limes material hereto was responsible for hiring

Macy's security personnel, Macy's staff, and/or Macy's representative(s), agent(s), servants,

personnel, workman and/or employees working at the Macy's location at the Oxford Valley Mall

2300 East Lincoln Highway in Langhome, PA.

    5. Defendant John Doc 2 is an 8dult individuals who, upon information and belief

resides in Pennsylvania and who at all times material hereto worked as Macy's security

personnel, Macy's staff, and/or Macy's representative(s), agcnt(s), servants workman and/or

employees working at the Macy's location at the Oxford Valley Mall 2300 East Lincoln

Highway in Langhorne, PA at all times material hereto.

    6. Defendant John Doe 3 is an adult individual who upon information and belief resides in

Pennsylvania and who at all times material hereto worked for Schindler Elevator Coiporation

and was responsible for maintaining, servicing, repairing, installing, and fbr keeping the




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escalator in question in safe and proper working order at the Macy's store located at the Oxford

Valley Mall 2300 East Lincoln Highway in Langhorne, PA at all times material hereto.

    7.    Delbndants Jane Doe l, 2 and 3 are adult individuals who reside in Pennsylvania

and who were Macy's security personnel, Macy's staff, and/or Many's represcntativc(s),

agent(s), servants workman and/or employees working at the Macy's location at the Oxford

Valley Mall 2300 East Lincoln Highway in Langhorne, PA at all times material hereto.

    8,    Upon information and belief, each defendant owned, operated, leased, maintained,

repaired, serviced, installed, inspected, controlled, 8nd/or maintained the right to control the

escalators and/or their emergency shutoff function at the Macy's story located at 2300 Lincoln

Highway, Suite 4 in Langhorne, PA.

    9.    Each defendant knew and/or should have known before Plaintiff"s accident on October

3, 20 l8 that the escalator at the Macy's Store located at the Oxford Valley Mall, 2300 Lincoln

Highway in Langhorne, PA which Flaintiff was in an unsafe, defective and/or dangerous

condition, that it was not safe for passenger use and each defendant failed to do so, and/or not Fy

escalator passengers of same.

    10, Each defendant acted by and through its/his/her authorized agents, servants, workmen

and/or employees who were acting within the course and scope of their employment and/or

authority with one another at all times material hereto.

    II. On or about October 3, 2018, Plaintiff Christine Pcmblcton was shopping at Macy's

Oxford Valley Mall store located at 2300 Lincoln Highway in Langhorne, PA. when suddenly

and without waring, the defective and/or unsafe escalator she was a passenger on caught her

skirt, entrapped and pulled her down, and repeatedly struck her over a period ofsevcral minutes

during which time each defendant failed to stop, correct or remedy said hazardous and injurious




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condition, causing Plaintiff serious and/or permanent injuries to her neck, head, back right

ankle, leg and/or as hereinafter more fiilly set forth.

    32. A1 all times material hereto, Plaintiff used the escalator in question in the manner in

which it was intended to be used, and at all limes pertinent hereto, the occutvenee described

herein was not caused by any act or failure to act on the part of Plaintiff.                                   I


    E3. As a direct and proximate result of the aforementioned accident, Plaintiff suffered

serious and/or permanent injuries including but not limited to: back contusion; concussion with

associated headache, post traumatic headache, post traumatic vertigo; cervical spine ligaments

sprain, severe damage to her nerves and nervous system and diverse other ills and injuries.

    14. As a direct result of the aforementioned accident, Plaintiff has in the past and/or may in

the future suffer a loss of earnings, and u loss of eaming capacity, all to her great loss and

detriment.

    15. As a direct result of the aforementioned accident, plaintiff has in the past and may

continue to receive and will in the ligature be required to incur the costs of medical care,

hospitalization, medication, future surgery, diagnostic testing and rehabilitation in an attempt to

cure and/or alleviate her injuries and conditions resulting from this accident, all to her great loss

and detriment.

    16. At all times material hereto, each defendant owed plaintiff a duty to install, inspect,

service, repair, maintain and/or monitor the escalator in question and to make sure it was safe for

use by plaintiff and each defendant failed to do so.




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    17. Each defendant knew or should have expected that persons such as plaintiff would

not discover and/or realize that the escalator in question was in a dangerous and/or unsafe condition

and each defendant failed to protect persons such as plaintiff' ugainst it.

    E8. Each defendant owed a duty to plaintiff to ensure that the escalator in question which

it/he/she/they provided for its intended users was in a safe, non-hazardous condition at all times,

    19. Each defendant knew or should have been aware of the escalator's operation and safety

features, including but not limited to the location and/or use of the escalator's emergency stop

Function, and therefore had a duty to properly educate, train and inspect its agents, employees,

servants, workmen and/or contractors of same.

    20. At all times material hereto, each defendant, jointly and/or severally, maintained

certain responsibilities duties and obligations for the aforementioned escalator in question, which

it/lme/she/they breached, including:

            a. designing, installing, and/or manufacturing a safe and non-hazardous escalator for
               use by customers including Plaintiflf;

            b. properly and timely testing, servicing, maintaining, repairing and/or inspecting the
                escalator in question,

            o. promulgating, implementing, using and/or enforcing all required escalator safety
               measures, including timely and regular inspection and monitoring of said escalator,

            d. ensuring that no escalator be put into operation unless it was safe and proper
                working, order,

            C. having and/or requiring proper safety features and/or safety measures for said
               escalator at all times,

            f.   the duty to report, timely report and/or timely correct operational and/or safety
                 problems with this escalator type or model,

            g. providing properly trained, qualified, experienced, and skilled employees,
                 representatives, or agent(s) to inspect, install, repair, maintain, service, and monitor
                 the escalator in question;




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                     h. having an escalator with property safety features, measures and/or devices to
                         prevent it from catching a passengers clothing,

            21. As a direct result of the aforementioned accident, Plaintiff has in the past 8nd may in the
                                                                                                                            1



        future continue to suffer pain, mental anguish, humiliation, embarrassment, fear, loss of well-

        being, loss of life's pleasures, restrictions in her ability to perform life's normal activities, duties

        and avocations which may continue indefinitely into the future, all to or great loss and detriment.

            22. The aforementioned accident, injuries and other damages to plaintiff would not have

        occurred but for the joint and/or several carelessness and negligence of each defendant.

            23. The aforesaid accident and resulting injuries and damages to plaintiff were in no manner

        caused by plaintiff, Christine Pembleton.

            24. Venue is proper in Philadelphia County as the Corporate Defendants regularly do business

        in the City and County of Philadelphia and one or more of the John Doe/Jane doc defendants live

        in Pennsylvania and Plaintiff resides in Philadelphia.

                                                  COUNT I
                                      CHRISTINE PEMBLETON v. MACY'S

            25. Plaintiff incorporates by reference the preceding paragraphs as though same were fully

        set forth at length herein.

            26. The aforesaid accident and injuries to Plaintiff resulting therefrom were caused by the

        negligence, carelessness, acts and/or omissions of the Macy's defendants, which consisted of the

        following;

                     a. Allowing an escalator which it know or should have known was in an unsafe,
                        defective and/or dangerous condition to be and remain in service at all times
                        relevant hereto,

                     b. Failing to inspect, timely inspect, monitor and/or timely monitor its cscalator(s),

                     c. Failing to perform timely and/or regular preventive maintenance on the escalator
l                       in question,

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   d. Failing to properly maintain, service, refurbish, retrofit and/or repair the cscaiaior
       in question prior to the accident in question,


   c. Failing to hire, retain and/or utilize competent, properly trained, qualified, skilled,
      and/or experienced escalator maintenance personnel, mechanics, teclmicians,
        installers, servicemen and/or repairmen to install, service, maintain, repair,
        refurbish, retrofit, and/or work on the escalator in question,

   ft   Causing the escalator in question to be and/or remain in a dangerous, defective
        and/or unsafe condition at all times material hereto by virtue of inadcquale
        escalator warnings.

   g. Failing to make and/or perform necessary, timely escalator renovations, retro fits,
       service, repair or part replacement(s) for the elevator in question,

   h. Failing to require und/or provide appropriate education, instruction, training,
       supervision, management and/or direction to its employees, agents, servants,
       workmen, employees, agents, and/or contractors responsible for the maintenance,
       service, repair, upkeep and safety of the escalator in question,

   i,   Failing promulgate, implement, use, lbllow and/or enforce appropriate education,
        instruction, training, supervision, management and/or direction to its employees,
        agents, servants, workmen and/or contractors responsible For proper safety and
        emergency procedures, including but not limited to knowing the location of` and
        properly utilizing the emergency stop Function in a timely manner,

   j. Failing to promulgate, implement, use, follow and/or enforce Store Accident
        and/or Safety Policies, Proccdures, Rules, Training, Guidelines, Manuals,
        Warnings and/or Precautions including but not limited to those pertaining to
        escalator safety,

   k.   Failing to perform or timely perform escalator inspection, monitoring,
        preventive maintenance; operation, repair, modernization, refurbishment retrofit
        and/or renovation,

   I. Failing to perform a timely risk assessment of' the escalator in question,

   m. Failing to follow industry standards and/or requirements in the maintenance,
      repair, inspection and monitoring of the escalator in question,

   n, Failing to have adequate staffing of its store

   o. Failing to hire and/or utilize properly qualified person(s) to service, repair and/or
       maintain the escalator in question;




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                   p. Hiring and/or retaining persons to perform service, repair, and/or maintenance of
                      the escalator in question who were not properly qualified, competent, skilled,
                      knowledgeable and/or trained to work on the escalator in question,                                  I

                                                                                                                          1
                   q, Failing to timely adopt and/or employ proper and adequate safety precautions to
                       prevent, avoid and/or mitigate the accident in question;

                   r, Failing to have an adequate safety training manual, safety policies or safety                       I
                       procedures for the escalator in question"

                   S.   Allowing an escalator with unsafe and dangerous features such as gaps in steps
                        and/0 step sides to be and remain at the promises,

                   l.   Failing to utilize available security measures, safety plates, and/or features on said
                        escalator which would have prevented and/or mitigated the accident and its
                        consequences,

                   u, Failing to have proper and/or adequate warnings of the dangers of the escalator in
                      question.

           27. By conducting itself as set forth above, the Macy's defendants acts and/or omissions as

        set forth above were a substantial factor in, and a factual cause of Plaintiff's aforementioned

        accident and the serious and/or permanent injuries and damages she suffered..

               WHEREFORE, Plaintiff Christine Pernbleton demands judgment in her favor and

        against the Macy's defendants, jointly and severally, in an amount in excess of Fifty Thousand

        Uollars ($50,000.00), exclusive of interest and costs.

                                        COUNT II
               CHRISTINE PEMBLETON v. SCHINDLER ELEVATOR CORPOR.4L'IllON
                                     INEGLIGENCE)

            28. Plaintiff incorporates by reference the preceding paragraphs as though same were fully
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        set forth at length herein.

            29. The aforementioned accident and Flaintiffs resulting injuries were caused by the

        defendant's negligence, carelessness, acts and/or omissions in its design, construction,




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manufacture, distribution, supply, selling, installation, service, inspection, maintenance, and/or

repair of the said escalator and/or its component parts, which consisted of the lbilowingz

           El .   Allowing in escalator which it knew or should have known was in an unsafe,
                  defective and/or dangerous condition to be and remain in service at all times
                  relevant hereto,

           b. Failing to inspect, timely inspect, monitor and/or timely monitor its esculator(s),

           C.     Failing to perform timely and/or regular preventive maintenance on the escalator
                  in question,

           d. Failing to properly maintain, service, refurbish, relrolit and/or repair the escalator
               in question prior to the accident in question;

           c, Failing to hire, retain and/or utilize competent, properly trained, qualified, skilled,
              and/or experienced escalator maintenance personnel, mechanics, technicians,
              installers, servicemen and/or repairmen to install, service, maintain, repair,
              reliirbish and/or work on the escalator in question,

            f. Causing the escalator in question to be and/or remain in a dangerous, defective
               and/or unsafe condition at all times material hereto by virtue of inadequate
               escalator warnings.

           g. Failing to make and/or perform necessary, timely escalator renovations, retrofits,
               service, repair or part replacement(s) for the elevator in question,


           h. Failing to require and/or provide appropriate education, instruction, training,
              supervision, management and/or direction lo its employees, agents, servants,
              workmen, employees, agents, and/or contractors responsible for the maintenance,
              service, repair, upkeep and safety of the escalator in question,

           i.     Failing promulgate, implement, use, lbllow and/or enforce appropriate education,
                  instruction, train ing, supervision, management and/or direction lo its employees,
                  agents, servants, workmen and/or contractors responsible for proper safety and
                  emergency procedures, including but not limited to knowing the location of and
                  properly utilizing the emergency stop Function in a timely manner,

            j. Failing to promulgate, implement, use, follow and/or enforce Store Accident
                  and/or Safety Policies, Procedures, Rules, Training, Guidelines, Manuals,
                  Warnings and/or Precautions including but not limited to those pertaining to
                  escalator safety,




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               k. Failing to perform or timely perform escalator inspection, monitoring,
                    preventive maintenance: operation, repair, modernization, refurbishment retrofit
                    and/or renovation,

               l.   Failing to perform a timely risk assessment of the escalator in question,

               m. Failing to follow industry standards and/or requirements in the maintenance,
                  repair, inspection and monitoring of the escalator in question,

               n. Failing to have adequate staffing of' its store

               o. Failing to hire and/or utilize properly qualified person(s) to service, repair and/or
                  maintain the escalator in question;                                                                 ;i


               p. Hiring and/or retaining persons to perform service, repair, and/or maintenance of
                   the escalator in question who were not properly qualified, competent, skilled,
                                                                                                                      .
                   knowledgeable and/or trained to work on the escalator in question,                                 i


               q. Failing to timely adopt and/or employ proper and adequate safety precautions to
                   prevent, avoid and/or mitigate the accident in question,

               r/ Failing to have an adequate satiety training manual, safety policies or safety
                   procedures for the escalator in question,

               s. Allowing an escalator with unsafe and dangerous features such as gaps in steps
                    and/o step sides to be and remain at the premises,

               L    Failing lo utilize available security measures, safety plates, and/or features on s8id
                    escalator which would have prevented and/or mitigated the accident and its
                    consequences,

               u. Failing to have proper and/or adequate warnings of the dangers of the escalator in
                  question.

       30. By conducting itself as set forth above, defendant Schindler Escalator Corporation's acts

       and/or omissions as set forth above were a substantial factor in, and a factual cause of

       Plaintiffs aforementioned accident and her serious and/or permanent injuries and damages.

           WHEREFORE, Plaintiff Christine Pembleton demands judgment in her favor and

    against Defbudanl, Schindler Elevator Corporation, jointly and severally, in an amount in excess

    ofFiily 'Thousand Dollars ($50,000,00), exclusive ofintcrcst and costs.




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                                           COUNT [II
       CHRISTINE PEMBLETON v. SCHINDLER ELEVATOR CORPORATION
                         (STRICT LIABILITY)

    3 1, Plaintiff incorporates by reference the preceding paragraphs as though same were Fully

set forth at length herein.

    32, Defendant, Schindler Escalator Corporation, at all times material hereto, did design,

construct, manufacture, modernize, label, inspect, repair, maintain, overhaul, assemble and/ur

distribute or otherwise place into the stream of commerce the aforementioned escalator which

injured plaintiff.

    33. At the time ofits manufacture, construction, distribution and/or sale, the aforesaid

escalator was defective, unreasonably dangerous and unfit and unsafe for its intended uses and

purposes rendering it unreasonably dangerous.

    34. The aforesaid escalator was defective in its design, manufacture, and construction in that

it, among other things, was designed manufactured and constructed: without proper safety

devices to prevent a rider from becoming entrapped in the track, step grooves, step mechanism,

outer decking and/or comb plate.

    35. At the time ofdcsign, manufacture, construction, distribution, and/or sale, the aforesaid

escalator failed to contain proper and sufficient reamings, cautions and/or instructions, rendering

the aforesaid escalator defective, unreasonably dangerous and unfit and unsafe For its intended

uses and purposes.

    36. On or about October 3, 20 I8, the afbrcsaid escalator was in the same or substantially

similar condition as it was when manufactured, distributed, and/ot sold by said defendant.

    37. Said defendant designed, manufactured, constructed, labeled, sold, distributed, supplied,

installed, repaired, inspected and maintained the escalator in a defective condition, dangerous to




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        its purchaser and to the ultimate user or consumer and is strictly liable to plaintiff pursuant to

        Section 402A of the Restatement (Second) ofTer's.

            38. As a direct and proximate result of the aforementioned defects and dangerous

        condition(s), plaintiff h8s suftcred the severe and permanent injuries which were set forth at

        length herein above.

            39. By conducting itself as set forth above, defendant Schindler Elevator Corporatiotfs acts

        and/or omissions as set forth above were a substantial factor in, and a factual cause of Plaintiff"0

        aforementioned accident and her serious and/or permanent injuries and damages.

                WHEREFORE, Plaintiff CMstine Pcmbleton demands judgment in her Favor and

        against Defendant, Schindler Elevator Corporation, jointly and severally, in an amount in excess

        of Fifty Thousand Dollars ($50,000.00), exclusive ofintcrcst and costs.

                                                     COUNT IV
               CHRISTINE PEMBLETON v. SCHINDLER ELEVATOR CORPORATION
                               (BREACH OF WARRANTY)

            40. Plaintiff incorporates by reference the preceding paragraphs as though same were fully

        set forth at length herein

            41. At all times material hereto, said Defendant did expressly and impliedly warrant that the

        atbresaid escalator, and all of its component parts, were of merchantable condition 81 the time it

        was sold and that it was fit tor its intended purpose when sold and/or used for its intended

        purposc(s) .

            42. Defendant Schindler Elevator Corporation breached said expressive and/or implied

        wananties in that the aforesaid escalator was defective, hazardous, unsafe, unfit for its intended

        use and not properly and reasonably merchantable and was unfit for its intended, ordinary

        foreseeable use and purpose.




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    43. As a direct and proximate result of the aforementioned defects and dangerous

condilion(s), plainlilT has suffered the severe and painful injuries which were set forlh at length

herein above.

   44. By conducting itself as set Forth above, defendant Schindler Elevator C01poration's acts

and/or omissions as set forth above were a substantial factor in, and a factual cause of PlaintitT's

aforementioned accident and her serious and/or permanent injuries and damages,

        WHEREFORE, Plaintiff Christine Pembleton demands judgment in her favor and

against Defendant, Schindler Elevator Corporation, jointly and severally, in an amount in excess

of Fifty Thousand Dollars ($50,000.00), exclusive of interest and costs.

                                       COUNT V
                          CHRISTINE PEMBLETON v. JOHN DOE 1 and 2
                                    (NEGLIGENCE)

   45, 1'laintiff` incorporates by reference the preceding paragraphs as if sumo were iiilly set

Forth at length herein.

    46. The carelessness, negligence acts and omissions ofJolln Doe I a/k/a Scott and John Doc

2, who upon information and bclicfworked in management for Macy's at the Macy'sstore in

question at all times material hereto consisted of the following'

           a, Allowing an escalator which it knew or should have known was in an unsafe,
              defective and/or dangerous condition to be and remain in service at all times
              relevant hereto,

           b. Failing to inspect, timely inspect, monitor and/or timely monitor its cscalator(s),

           c. Failing to perform timely and/or regular preventive maintenance on the escalator
              in question,

            d. Failing to properly maintain, service, refurbish, retrofit and/or repair the escalator
                in question prior to the accident in question,




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       e. Failing to hire, retain and/or utilize competent, properly trained, qualified, skilled,
            and/or experienced escalator maintenance personnel, mechanics, technicians,
            installers, servicemen and/or repairmen to install, service, maintain, repair,
            refurbish, retrofit, and/or work on the escalator in question,                                   :
                                                                                                             1


       f. Causing the escalator in question to be and/or remain in a dangerous, defective
          and/or unsafe condition at all times material hereto by virtue of inadequate
          escalator reamings.

       g. Failing to make and/or perform necessary, timely escalator renovations, retrofits,
           service, repair or part replacemcnt(s) for the elevator in question,

       h. Failing to require and/or provide appropriate education, instruction, training,
          supervision, management and/or direction to its employees, agents, servants,
          workmen, employees, agents, and/or contractors responsible for the maintenance,
          service, repair, upkeep and safety of the escalator in question,

       i.   Failing promulgate, implement, use, follow and/or enforce appropriate education,
            instruction, training, supervision, management and/or direction to its employees,
            agents, servants, workmen and/or contractors responsible for proper safety and
            emergency procedures, including but not limited to knowing the location of and
            properly utilizing the emergency stop liinction in a timely manner,

       j. Failing to promulgate, implement, use, follow and/or enforce Store Accident
            and/or Safety Policies, Procedures, Rules, Training, Guidelines, Manuals,
            Wantings and/or Precautions including but not limited to those pexiaining to
            escalator safety,

       k,   Failing to pel'florm or timely perform escalator inspection, monitoring,
            preventive maintenance,: operation, repair, modernization, refurbishment retrofit
            and/or renovation,

       1. Failing to perform a timely risk assessment of' the escalator in question,

       m. Failing to follow industry standards and/or requirements in the maintenance,
          repair, inspection and monitoring of the escalator in question,

       n. Failing to have adequate staffing of its store

       0. Failing to hire and/or utilize properly qualified person(s) to service, repair and/or
          maintain the escalator in question,

       p, Hiring and/or retaining persons to perform service, repair, and/or maintenance of
           the escalator in question who were not properly qualified, competent, skilled,
           knowledgeable and/or trained to work on the escalator in question,




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           q, Failing to timely adopt and/or employ proper and adequate safety precautions to
               prevent, avoid and/or mitigate the accident in question,

           r. Failing to have an adequate safety training manual, safety policies or safely
               procedures for the escalator in question;,

           v. Allowing an escalator with unsafe and dangerous features such as gaps in steps
              and/0 step sides to be and remain al the promises,

           W. Failing to utilize available security measures, safety plates, and/or Features on said
              escalator which would have prevented and/or mitigated the accident and its
              consequences,

           x. Failing to have proper and/or adequate warnings of the dangers of the escalator in
              question,

        WHEREFORE, Plaintiff Christine Pcmbleton demands judgment in her favor and

against Defendant, John Doe Defendants I and 2, jointly and severally, in an amount in excess of

Fifty Thousand Dollars ($50,000.00), exclusive of interest and costs.



                                        COUNT VI
                             CHRISTINE PEMBLETON v. JOHN DOE 3
                                     (NEGLIGENCE)

   47. Plaintiff incorporates by reference the preceding paragraphs as if same were fully set

Forth at length herein.

    48. The carelessness, negligence, acts and omissions of John Doe 3 who worked for

Schindler Elevator Company and performed work on the elevator in question at Macy's

including service, maintenance, installation and repair at all times material hereto consisted of

the following:

           a. Allowing an escalator which it knew or should have known was in an unsafe,
              defective and/or dangerous condition to be and remain in service at all times
              relevant hereto,

           b. Failing to inspect, timely inspect, monitor and/or timely monitor its escalator(s);




                                                                                            Case TD; 200802802
             Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 27 of 49
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                c. Failing to perform timely and/or regular preventive maintenance on the escalator
                     in question,

                d. Failing to properly maintain, service, refurbish, retrofit and/or repair the escalator
                    in question prior to the accident in question,

                e. Failing to hire, retain and/or utilize competent, properly trained, qualified, skilled,
                     and/or experienced escalator maintenance personnel, mechanics, technicians,
                     installers, servicemen and/or repairmen to install, service, maintain, repair,
                     refurbish, retrofit, and/or work on the escalator in question,
                                                                                                                      :
                                                                                                                      i
                f. Causing the escalator in question to be and/or remain in a dangerous, defective
                   and/or unsafe condition at all times material hereto by virtue of inadequate
                   escalator warnings.

                g, Failing to make 8nd/or perform necessary, timely escalator renovations, tctrofits,
                    service, repair or part replacement(s) for the elevator in question,

                h, Failing to require and/or provide appropriate education, instruction, training,
                   supervision, management and/or direction to its employees, agents, servants,
                   workmen, employees, agents, and/or contractors responsible for the maintenance,
                   service, repair, upkeep and safety of the escalator in question;

                i.   Failing promulgate, implement, use, follow and/or enforce appropriate education,
                     instruction, training, supervision, management and/or direction to its employees,
                     agents, servants, workmen and/or contractors responsible for proper safety and
                     emergency procedures, including but not limited to knowing the location of and
                     properly utilizing the emergency stop function in a timely manner,

                3.   Failing to promulgate, implement, use, follow and/or enforce Store Accident
                     and/or Safety Policies, Procedures, Rules, Training, Guidelines, Manuals,
                     Wantings and/or Precautions including but not limited to those pertaining to
                     escalator safety,

                k.    Failing to perfoim or timely perform escalator inspection, monitoring,
                     preventive maintenance,: operation, repair, modernization, refurbishment retrofit
                     and/or renovation,

                l.   Failing to perform a timely risk assessment of the escalator in question,

                m. Failing to follow industry standards and/or requirements in the maintenance,
                   repair, inspection and monitoring of the escalator in question;

:               n. Failing to have adequate staffing of its store
i
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                O. Failing to hire and/or utilize properly qualified person(s) to service, repair and/or


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                                                                                                 Case ID: 200802802
      Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 28 of 49




                 maintain the escalator in question,

           p. Hiring and/or retaining persons to perform service, repair, and/or maintenance of
               the escalator in question who were not properly qualified, competent, skilled,
               knowledgeable and/or trained to work on the escalator in question,

           q. Failing lo timely adopt and/or employ proper and adequate safely precautions to
               prevent, avoid and/or mitigate the accident in question,

           t. Failing to have an adequate safety training manual, safety policies or safety
               procedures for the escalator in question

           s. Allowing an escalator with unsafe and dangerous features such as gaps in steps
              and/o step sides to be and remain at the premises,

           t.    Failing to utilize available security measures, safety plates, and/or Features on said
                 escalator which would have prevented and/or mitigated the accident and its
                 consequences,

           v. Failing to have proper and/or adequate warnings of the dangers <)f the escalator in
              question.

        WHEREFORE, PlaintifltlChristinc Pembleton demands judgment in her favor and

against Defendant, John Doc Dcfeimdant 3, jointly and severally, in an amount in excess of Filly

Thousand Dollars ($50,0(}0.00), exclusive of interest and costs.


                                         COUNT VIII
                              CHRISTINE PEMBLETON v. JANE DOE I
                                      (NEGLIGENCE)

   49. Plaintiff incorporates by reference the preceding paragraphs as if same were lillly set

Forth at length herein.

   50. The carelessness, negligence, acts and omissions of Jane Does 3 who worked For

The Macy's defendants as staff and or Macy's security at all times material hereto consisted of

the fbllowing:

           a. Allowing an escalator which she knew or should have known was in an unsafe,
              defective and/or dangerous condition to be and remain in service at all times
              relevant hereto,




                                                                                              Case ID; 200802802
        Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 29 of 49
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           b. Failing to inspect, timely inspect, monitor and/or timely monitor its escalator(s),

           C. Failing to perform timely and/or regular preventive maintenance on the escalator
              in question,

           d. Failing to properly maintain, service, refurbish, retrofit and/or repair the escalator
               in question prior to the accident in question,

           e. Failing to hire, retain and/or utilize competent, properly trained, qualified, skilled,
                and/or experienced escalator maintenance personnel, mechanics, technicians,
                installers, servicemen and/or repainnen to install, service, maintain, repair,
                refurbish, retrofit, and/or work on the escalator in question,

           f. Causing the escalator in question to be and/or remain in a dangerous, defective
              and/or unsafe condition at all times material hereto by virtue of inadequate
              escalator warnings.

           g. Failing to make and/or perform necessary, timely escalator renovations, retrofits,
              service, repair or part replacement(s) for the elevator in question,

           h. Failing to require and/or provide appropriate education, instruction, training,
              supervision, management and/or direction to its employees, agents, servants,
              workmen, employees, agents, and/or contractors responsible for the maintenance,
              service, repair, upkeep and safety of the escalator in question,

           i.   Failing promulgate, implement, use, follow and/or enforce appropriate education,
                instruction, training, supervision, management and/or direction to its employees,
                agents, servants, workmen and/or contractors responsible for proper safety and
                emergency procedures, including but not limited to knowing the location of and
                properly utilizing the emergency slop function in a timely manner,

           j. Failing to promulgate, implement, use, follow and/or enforce Store Accident
                and/or Safety Policies, Procedures, Rules, Training, Guidelines, Manuals,
                Wantings and/or Precautions including but not limited to those pertaining to
                escalator safety,

           k.   Failing to pertbrm or timely perform escalator inspection, monitoring,
                preventive maintenance,: operation, repair, modernization, refurbishment retrofit
                and/or renovation,

           l.   Failing to perform a timely risk assessment of the escalator in question,

           m. Failing to follow industry standards and/or requirements in the maintenance,
              repair, inspection and monitoring otthe escalator in question;




                                                                                            Case ID: 200802802
      Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 30 of 49




           n. Failing to have adequate staffing of its store

           o. Failing to hire and/or utilize properly qualified person(s) to service, repair and/or
               maintain the escalator in question,

           p, Hiring and/or retaining persons to pcrl0nn service, repair, and/or maintenance of
               the escalator in question who were not properly qualified, competent, skilled,
               knowledgeable and/or trained to work on the escalator in question,

           q. Failing to timely adopt and/or employ proper and adequate safety precautions to
               prevent, avoid and/or mitigate the accident in question,

           r. Failing to have an adequate safety training manual, safety policies or satiety
               procedures for the escalator in question.,

           y. Allowing an escalator with unsafe and dangerous features such as gaps in steps
               and/0 step sides to be and remain at the premises,

           z. Failing to utilize available security measures, safety plates, and/or features on said
              escalator which would have prevented and/or mitigated the accident and its
              consequences,

           as. Failing to have proper and/or adequate reamings of" the dangers of the escalator in
               question.


       WIIEREFORE, FlaintiF!` Christine Pemblcton demands judgment in her favor and

against Defendant, Jane Doc Defendants 1-3, jointly and severally, in an amount in excess of

Fifty Thousand Dollars ($50,000.00), exclusive ofintercst and costs.



                                                HUPEH      PALSIR LLC
                                            I
                                      BY:                                        J
                                                ROBERT A. H           ESQUIRE
                                                Attomcy for Plaintiff
                                                Cllristinc Pomblcton

Dated: September 1, 2020




                                                                                            Case ID: 200802802
            Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 31 of 49

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                                                 VURJ:B'ICATIOt{


                   The undersigned, having read the atWczhed pleadiuq, hereby
              verifies that the within pleading is based on information
              furnished to counsel, which inforruatiiort has been gathered by
        I
              counsel in the course of this law suit. Signer veriiias that
             he/alia has read the within pleading and that it is true and
             correct to the best of eigrzer:' s knowledge, inforraaiiion and
             belief, To the extent that the contents of the pleadings are
             that of Qounsel, verifier has relied upon counsel in Leaking this
             Ver:i.f5.Gation.   This Verification is :nude subject to the
             penalties of 18 Pa. C.B. Sec. 4904! relating to unawotrn
             falssiiiication of authorities .



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                                                      Christine Pembleton




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                                                                                 Case ID; 20080801?
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       Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 32 of 49




                                              VERIFICATION


        I, Roberl A. Huber, do hereby scale that I am the attorney representing the party filing

the lbregoin8 pleading. I verify that I have read the attached pleading, that the infonnalion contained

within the pleading is based upon information li1i-nished lo counsel and or gathered by counsel. I verify

that the information contained within this pleading is true and correct lo the best of my knowledge,

information and beliefs This verification is made subject to the penalties of 18 Pa. C.S. Section 4904

relating to unsworn falsification to authorities.




                                            B Y: _
                                                     Robcn A. I-lu




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           Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 33 of 49
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                                                     Robert A Huber

                                                     Altomey ID: 58948

                                                     Attorney for P1aintif£ Christine Fembleton




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Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 34 of 49




EXHIBIT
EXHIBIT “B                                    c             5!)
           Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 35 of 49




    HUBER AND PALSIR, LLC
                                                                                                  /          "`\@;
                                                                                         Filed as                    8 by the
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    BY: ROBERT A HUBER, ESQUIRE                                                          Office                          cords
                                                                                         18                              pm
    IDENTIFICATION NO: 48958                                                       AFFIDAVI
                                                                                                      9:'     ;
    P o BOX 37008                                                                                     ' 98   a8i/

    PHILADELPHIA, PA 19122
    (215) 627-0676


    PLAINTIFFSZ Christine Pembleton
    PHILADELPHIA CCP CASE ID: 200802802
    DEFENDANT: Schindler Elevator Corp.
    SERVED: COMPLAINT
    *****l*************************************************l******

    1)      Served Complaint to Schlr;dte_r Elevator Corporation.
            on the 10th day of September, 2020 at 29 Whipggpy Road, Morristown, NJ 07960
            in the manner described below:
            Certified Mail Return Receipt Requested # 70200640000084460627
    t********n***a-***ws*****u¢w*********** *u**nw*v¢*****#w***i****

    NAME OF SERVER'
    Ana Doughty, being duly sworn according to law, deposes and says that she is process
    server herein named; and that the facts herein set forth are true and correct to the best
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i   of her knowledge, information and belief.
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    Ana Doughty                             Date


    SWORN TO AND SUBSCRIBED
    BEFORE ME THIS 18th DAY
    OF SEPTEMBER 2020:                             Cummonvwanh of Pennsylvania Nosy ml
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                                                         Comm van nwmw 1235333

    NOTARY PUBLIC




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            Case 2:20-cv-05024-CMR Document
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                                            '*if .:¢ P  10/09/20 Page 36 of 49
                                                        et           9   49




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                                 or on the front If space permits.                                     , l>1 . r)         1-m»-
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Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 37 of 49




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EXHIBIT                                       c
             Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 38 of 49




    HUBER AND PALSIR, LLC                                                          Fil ed         by the
    BY: ROBERT A HUBER, ESQUIRE                                                   Office A         c or ds
                                                                                      25            am
    IDENTIFICATION NO: 48958                                         AFFIDAVIT OF SERVICE
    P o BOX 37008
    PHILADELPHIA, PA 19122
    (215) 627-0676


    PLAINTIFFZ Christine Pembleton
    PHiLADELPHiA CCP CASE ID: 200802802
    DEFENDANT: Macy's Inc., etal.
    SERVED' COMPLAINT
    *.****.***********...******»*******.*******.*******.****

    1)       Sewed Complaint to 1l_A_a_Qy's Retail Holgiingg,_19
             on the 14"' day of September, 2020 at 2300 Lincoln Highway, Suite 4, Langhorne,
             PA 19047 in the manner described below-
             Bucks County Sheriff
    **m**l=***x*ww***a**urw*****x*******w****iv*#*****wwr*****w****i**w*

    NAME OF SERVER:
I   Ana Doughty, being duly sworn according to law, deposes and says that she is process
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    sewer herein named; and that the facts herein set forth are true and correct to the best
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    of her knowledge, information and belief.
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    @v~9x 5\/                                          Oil1'8'202o
    Ana Doughty                                        Date


    SWORN TO AND SUBSCRIBED
    BEFORE ME THIS 25"' DAY
    OF SEPTEMBER, 2020:


                  v         ., 94z/»o1»/

    NOTARY PUBLIC

          Commonwealth of Ponnsyhrania » Nolasy Seat
              D°~»              notary Public

             My Commusknw aM      31. 2023
                Commission Number msn:
                                                                                             Case ID: 200802802
                Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 39 of 49

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BUCKS SHERIFF'S RETURN
Case #:  2020-92483
Commenced' 9/1/2020
Caption: PEMBLETON, CHRISTINE
         vs.
            MACY'S RHrA11. HOLDINGS, INC.


SERVICE REQUEST
Request #g          16021 (1 of 1]
Request Type:       Out of County COMPLAINT
Entered:            9/9/2020 by COB\dllindsey
Requested By:       CHRISITNE PEMBLETON
                    UNKNOWN

Special Instructions:
Service To:           1) MACY'S RETAIL HOLDINGS, INC.
                      2] IOHN DOE #1
                      3) IOHN DOE #2
                      4) IOHN DOE #3
                      5) IANE DOE #1
                      6) IANE DOE #2
                      7) lANE von #3

Zone:        3
Address:      2300 LINCOLN HIGHWAY, SUITE 4
             LANGHORNE, PA 19047
Municipality: Middletown TOWNSHIP
             Pick Up on 9/10/20202:12 PM by deputy Deputy Dale Walton

            Served on 9/14/20202:01 PM by deputy Deputy Dale Walton

                4 Pelion in Charge of Business (A) [2] (iii)

            Served To: SHARON wE!ss
            Witness: DEPUTY WALTON




                                                                             Case ID: 200802802
           Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 40 of 49




    HUBER AND PALSIR, LLG
                                                                                      Filed         t          the
    BY: ROBERT A HUBER, ESQUIRE                                                      Office     ,       8   c or ds

    IDENTIFICATION NO: 48958
                                                                                         25
                                                                        AFFIDAVIT OF SERVICQ
                                                                                               ii       8   am


    p o BOX 37008
    PHILADELPHIA, PA 19122
    (215) 627-0676


    PLAINTIFFz Christine Pembleton
    PHILADELPHIA CCP CASE ID: 200802802
    DEFENDANT: Macy's Inc., etal.
    SERVED! COMPLAINT
    f****w*****+ww*=uaw.******uk*n****u*m»***u**e****w******w*w**


    1)      Served Complaint to Macy's Inc..
            on the 8"' day of September, 2020 at 151 We$I 34"' Street.. New York, NY 10001 in
            the manner described below;
            Certified Mail Return Receipt Requested # 70190700000130326933
c


    **************ara*w*t**»*n»w*¢*******»*r¢**********»***t*t*******

    NAME OF SERVER'
    Ana Doughty, being duly sworn according to law, deposes and says that she is process
    server herein named; and that the facts herein set forth are true and correct to the best
    of her knowledge, information and belief.


    Q          Q-~\                                         9 l'L'©\2o'Lo
    Ana Doughty                                             Date


    SWORN TO AND SUBSCRIBED
    BEFORE ME THIS 25ll'l DAY
    OF SEPTEMBER, 2o20~




    NOTARY PUBLIC

         Commonwealth of Pennsylvania - Notary Seal
              DonnaMarf8 Knott. Nolly pubic
                   Philadelphia County
            My Cummlsslon Expires July 31. 2023       ..
                                                       ..
               CommBslon Number 1215133                 .
                                                                                                Case ID: 200802802
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    9/21/2020                                                    USPS.com® - USPS Tracking® Results

            ALERT: STAY UPDATED ON POST OFFICE CLOSURES AND SERVICE IMPACTS DUE TO SEVER...

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       USPS Tracking                                                                                       FAQS >




                                                     Track Another Package                 +



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       Tracking Number' 70190700000130326933

       Your item was delivered to the front desk, reception area, or mail room at 11:27 am on September
       8, 2020 in NEW YORK, NY 10001 v

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       NEW YORK, NY 10001

       Get Updates         V


           Text & Email Updates                                                                              V

           Tracking History                                                                                  v

           Product information                                                                               V

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                                      Can't find what you're looking for?
                               Go to our FAQS section to find answers to your tracking questions.     Case ID: 200802802
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Case Description

  Case ID:       200802802
  Case Caption: PEMBLETON VS MACY'S INC ETAL
  Filing Date:   Tuesday , September 01st, 2020
  Court:         MAJOR NON JURY EXPEDITED
  Location:      City Hall
  Jury:          NON JURY
  Case Type:     PRODUCT LIABILITY
  Status:        WAITING TO LIST CASE MGMT CONF

Related Cases

No related cases were found.

Qase Event Schedule

No case events were found.

 Case motions

No case motions were found.

 Case Parties

                                                  Expn
      Seq #                             Assoc                    Type                     Name
                                                  Date
            1                                                   ATTORNEY FOR              HUBER, ROBERT A
                                                                PLAINTIFF
  Address: p O BOX 37008                            Aliases : none
           PHILADELPHIA PA 19122

                     (215)627-0676
                     RHuber@HuberPalsir.com


            2                                 1                 PLAINTIFF                 PEMBLETON,
                                                                                          CHRISTINE
  Address : 6060 ALMA STREET                        Aliases: none
            PHILADELPHIA PA 19149


            3                                                    DEFENDANT                MACY'S INC
                It                                                                                                    I



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Civil Docket Report
              Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 45 of 49            Page 2 of 6

 Address: 2300 LINCOLN                            Aliases : none
          HIGHWAY
          SUITE 4
          LANGHORNE PA 19047


           4                                                 DEFENDANT        MACY'S RETAIL
                                                                              HOLDINGS INC
 Address : 2300 LINCOLN                           Aliases: MACY'S RETAIL HOLDINGS LLC I/T/A
           HIGHWAY
           SUITE 4
           LANGHQRNE PA 19047


           5                                                  DEFENDANT       SCHINDLER
                                                                              ELEVATOR CORP
  Address: 2300 LINCOLN                           Aliases: none
           HIGHWAY
           SUITE 4
           LANGHORNE PA 19047


           6                                                  DEFENDANT       DOE 1, JOHN
  Address: 2300 LINCOLN                           Aliases: SCOTT
           HIGHWAY
           SUITE 4
           LANGHORNE PA 19047


            7                                                 DEFENDANT       DOE 2, JOHN
  Address: 2300 LINCOLN                           Aliases : none
           HIGHWAY
           SUITE 4
           LANGHORNE PA 19047


            8                                                 DEFENDANT       DOE 3, JOHN
  Address: 2300 LINCOLN                           Aliases : none
           HIGHWAY
           SUITE 4
           LANGHORNE PA 19047


            9                                                 DEFENDANT       DOE, 1, JANE
  Address: 2300 LINCOLN                           Aliases : none
           HIGHWAY


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              Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 46 of 49
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               SUITE 4
               LANGHORNE PA 19047


          10                                                    DEFENDANT             DOE, 2, JANE
  Address: 2300 LINCOLN                            Aliases : none
           HiGHWAY
           SUITE 4
           LANGHORNE PA 19047


          11                                                    DEFENDANT             DOE, 3, JANE
  Address: 2300 LINCOLN                            Aliases: none
           HIGHWAY
           SUITE 4
           LANGHORNE PA 19047


          12                                     06-OCT-        TEAM LEADER           SHiRDAN-HARRIS,
                                                 2020                                 LISETTE
  Address: 692 CITY HALL                            Aliases: none
           PHILADELPHIA PA 19107


          13                                                    TEAM LEADER           SHREEVES-JOHNS,
                                                                                      KAREN
  Address: 327 CITY HALL                            Aliases: none
           PHILADELPHIA PA 19107


 Docket Entries

  Filing                                                                        Disposition Approval/
                    Docket Type                         Filing Party
  Date/Time                                                                        Amount Entry Date
  01-SEP-2020 ACTIVE CASE                                                                  01-SEP-2020
  05:32 PM                                                                                 11:24 PM
          Docket
                   E-Filing Number: 2009002428
           Entry :


  01~SEP-2020 COMMENCEMENT OF                           HUBER,                             01-sEp-2020
  05:32 PM    CIVIL ACTION                              ROBERTA                            11;24 PM
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                     Final Cover




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              Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 47 of 49
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         Docket
                  none.
          Entry :


  01-SEP-2020 COMPLAINT FILED                             HUBER,                 01-SEP-2020
  05:32 PM    NOTICE GIVEN                                ROBERTA                11224 PM
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  01-SEP-2020 WAITING TO LIST CASE                        HUBER,                 01-SEP-2020
  05:32 PM    MGMT CONF                                   ROBERTA                11224 PM
          Docket
                  none.
           Entry:


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  03:44 PM    FILED                                       ROBERTA                10:12 AM
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          Docket
                   ELEVATOR CORP BY CERTIFEED MAIL ON 09/10/2020 FILED. (FILED ON
           Entry :
                   BEHALF OF CHRISTINE PEMBLETON)


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           Entry:
                  CHRISTINE PEMBLETON)


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          Docket BY SHERIFF OF BUCKS COUNTY ON 09/14/2020. (FILED ON BEHALF OF
           Entry :
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              Case 2:20-cv-05024-CMR Document 1 Filed 10/09/20 Page 48 of 49
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 25-SEP-2020 SHERIFF'S SERVICE                          HUBER,                  25-SEP~2020
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